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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                     CASE NO.: 1:00cr15-SPM

LINDA WILSON,

           Defendant.
_____________________________/


      ORDER DIRECTING PAYMENT OF BOND TOWARD RESTITUTION

       The Court issued a Writ of Attachment (doc. 1193) authorizing the United

States Marshal to continue holding the original sum of $100,000.00 (plus accrued

interest) that was deposited by Defendant with the Clerk of Court as a portion of

Defendant’s appearance bond. Because Defendant has an outstanding

restitution obligation, the bond may be applied toward restitution. See 18 U.S.C.

§ 3664(k) (upon notification of material change in the defendant’s ability to pay

restitution, the court may adjust payment schedule or require immediate payment

in full) and 18 U.S.C. § 3664(n) (substantial resources received by person

obligated to pay restitution may be applied toward the outstanding obligation).

       Defendant filed a Petition for Relief From Attachment (doc. 1200), wherein

she requests that the bond be paid to her. Defendant explains that she does not
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have sufficient financial resources to meet her expenses or to make $250

monthly restitution payments, as ordered by this Court.

        Currently, Defendant is being supervised by the United States Probation

Office in Columbia, South Carolina. She has been making monthly restitution

payments. The bond, likewise, should be paid toward restitution.

        The appropriate way to provide relief to Defendant if she is financially

unable to support herself is to reduce her monthly restitution payment.

Defendant may seek to do so after providing her probation officer with all

necessary financial information.

        Based on the foregoing, it is

        ORDERED AND ADJUDGED:

        1.      The United States Marshal shall transfer the attached funds to the

Clerk of Court.

        2.      The Clerk of Court shall apply the funds toward Defendant’s

outstanding restitution obligation.

        DONE AND ORDERED this 16th day of February, 2007.


                                        s/ Stephan P. Mickle
                                      Stephan P. Mickle
                                      United States District Judge




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